                           2:25-mj-00005-kjd

AO 442 (Rev. 11/11) Arrest Warrant
                                                  •         Document 29             Filed 01/30/25           Page 1 of 1

                                                                                                         U.S. DISTRICT COURT
                                                                                                        DISIQICT er I/EfHf0"1
                                                                                                                      FILED
                                            UNITED STATES DISTRICT CO~JAN 30 PM 3:
                                                                                                                                     48
                                                                          for the

                                                                  District of Vermont


                   United States of America
                                  V.                                         )
                                                                             )        Case No.     2:25-mj-5     -!
                                                                             )
                    TERESA YOUNGBLUT                                         )
                                                                             )                                                  RCVD U.S. MARSHALS VT
                                                                             )                                                   JAN 22 2025 Pl'l04:24
                               Defendant


                                                            ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)         TERESA YOUNGBLUT
                                   ----------'-----''---------'----'-------------------------
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment               0 Superseding Indictment                0 Information         0 Superseding Information               ~ Complaint
0 Probation Violation Petition                    0 Supervised Release Violation Petition           0 Violation Notice           O Order of the Court

This offense is briefly described as follows:
  On or about January 20, 2025, the defendant intentionally used a deadly weapon - a firearm - while forcibly assaulting,
  resisting, opposing, impeding, intimidating or interfering with federal law enforcement agents, in violation of (18 U.S.C. §
  111(a) and (b)).
  On or about January 20, 2025, the defendant used and dischared a firearm during and in relation to the assualt with a
  deadly weapon, in violation of (18 U.S.C. § 924(c)(1 )(A)(iii)).




Date:
                                                                                            ~z~ L     Issuing ; ~ a t u r e

City and state:      'B'1,r /; J f         1>""
                                                  1
                                                      VT                                 Hon. Kevin J. Doyle, U.S. Magistrate Judge
                                                                                                       Printed name and title


                                                                          Return

           This warrant was received on (date)           ~i'--fl-1._'-__.,I_~--=--- , and the person was arrested on (date)
at (city and state)      Lt.
                          It•"'·"' I u}\

Date: -~''-'',_"l.-~1__,_/_'-_{'_ __



                                                                                                        Printed name and title
